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                           EXHIBIT 21
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 From:             Lowell, Abbe
 To:               nickielumdavis; mccorriston@          ; David J. Minkin
 Subject:          ATTORNEY CLIENT PRIVILEGE
 Date:             Saturday, August 29, 2020 10:29:00 AM


 NEXT VERSION:


 Your Honor, as the Information sets out in more detail:

 1.            In 2017 and 2018, I started working with the others described in the Information to aid and
 assist their efforts to work for the foreign nationals also described in the Information to advance
 their issues having to do with a DOJ case and requests to       return a foreign national..

 2.            I knew that work would include the others contacting officials in the U.S. government,
 something I did not do.

 3.            I also knew that the Foreign Agent Registration Act requires disclosure of such contacts
 unless some exception applies.

 4.            Knowing that, I raised the issue with the others I was working with and was told that FARA
 did not apply.

 5.            It surely seemed to me that FARA did apply and that the others did not want their efforts to
 be disclosed.

 6.            And so I went along with that, deliberately avoiding raising the issue again so as to avoid
 that registration.




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